    Case: 1:16-cr-00638 Document #: 32 Filed: 11/09/16 Page 1 of 4 PageID #:85




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

UNITED STATES OF AMERICA
                                             No. 16 CR 638
             v.
                                             Judge John Robert Blakey
GREGORIO CORDERO
MYRNA CORDERO

              PROTECTIVE ORDER GOVERNING DISCOVERY

      Upon the unopposed motion of the government, pursuant to Fed. R. Crim. P.

16(d), it is hereby ORDERED:

      1.     All of the materials provided by the United States in preparation for,

or in connection with, any stage of the proceedings in this case (collectively, “the

materials”) are subject to this protective order and may be used by defendants

Gregorio Cordero and Myrna Cordero (“defendants”) and defendants’ counsel

(defined as counsel of record in this case) solely in connection with the defense of

this case, and for no other purpose, and in connection with no other proceeding,

without further order of this Court.

      2.     Defendants and defendants’ counsel shall not disclose the materials or

their contents directly or indirectly to any person or entity other than persons

consulted, appointed or employed to assist in the defense, persons who are

interviewed as potential witnesses, counsel for potential witnesses, and other

persons to whom the Court may authorize disclosure (collectively, “authorized

persons”). Potential witnesses and their counsel may be shown copies of the

                                         1
    Case: 1:16-cr-00638 Document #: 32 Filed: 11/09/16 Page 2 of 4 PageID #:86




materials as necessary to prepare the defense, but may not retain copies without

prior permission of the Court.

      3.     Certain materials to be disclosed by the government contain

particularly sensitive information, including medical information of one or more

persons other than the defendants. These materials shall be plainly marked as

sensitive by the government prior to disclosure. No such materials, or the

information contained therein, may be disclosed to any persons other than

defendants, counsel for defendants, persons consulted, appointed or employed to

assist the defense, the person to whom the sensitive information solely and directly

pertains, or potential witnesses and their counsel without prior notice to the

government and authorization from the Court. Potential witnesses and their

counsel may not retain copies of the sensitive materials or information. Absent prior

permission from the Court, information marked as sensitive shall not be included in

any public filing with the Court and instead shall be submitted under seal (except if

a defendant chooses to include in a public document sensitive information relating

solely and directly to that defendant).

      4.     Defendants, defendants’ counsel, and authorized persons shall not copy

or reproduce the materials except in order to provide copies of the materials for use

in connection with this case by defendants, defendants’ counsel, and authorized

persons. Such copies and reproductions shall be treated in the same manner as the

original materials.


                                          2
    Case: 1:16-cr-00638 Document #: 32 Filed: 11/09/16 Page 3 of 4 PageID #:87




      5.     Defendants, defendants’ counsel, and authorized persons shall not

disclose any notes or records of any kind that they make in relation to the contents

of the materials, other than to authorized persons, and all such notes or records are

to be treated in the same manner as the original materials.

      6.     Before providing materials to an authorized person, defense counsel

must provide the authorized person with a copy of this Order.

      7.     Upon conclusion of all stages of this case, all of the materials and all

copies made thereof shall be disposed of in one of three ways, unless otherwise

ordered by the Court. The materials may be (1) destroyed; (2) returned to the

United States; or (3) retained in defense counsel’s case file. The Court may require a

certification as to the disposition of any such materials. In the event that the

materials are retained by defense counsel, the restrictions of this Order continue in

effect for as long as the materials are so maintained, and the materials may not be

disseminated or used in connection with any other matter without further order of

the Court.

      8.     To the extent any material is produced by the United States to

defendants or defendants’ counsel by mistake (“inadvertently disclosed material”),

the United States shall have the right to request the return of the inadvertently

disclosed material and shall do so in writing. Within five days of the receipt of such

a request, defendants and/or defendants’ counsel shall either (a) return all such

inadvertently disclosed material if in hard copy, and in the case of electronic


                                          3
     Case: 1:16-cr-00638 Document #: 32 Filed: 11/09/16 Page 4 of 4 PageID #:88




materials, certify in writing that all copies of the specified inadvertently disclosed

material have been deleted from any location in which the inadvertently disclosed

material was stored, or (b) sequester all copies of the inadvertently disclosed

material and petition the Court under seal to retain access to the inadvertently

disclosed material. Defendants and/or defendants’ counsel shall not use or disclose

the inadvertently disclosed material until such petition is resolved.

      9.     The restrictions set forth in this Order do not apply to documents that

are or become part of the public court record, including documents that have been

received in evidence at other trials, nor do the restrictions in this Order limit

defense counsel in the use of discovery materials in judicial proceedings in this case,

except that any document filed by any party which attaches or otherwise discloses

specially identified sensitive information as described in Paragraph 3 above shall be

filed under seal, absent prior permission from this Court, unless the parties agree

on appropriate redaction of sensitive information.

      10.    Nothing contained in this Order shall preclude any party from

applying to this Court for further relief or for modification of any provision hereof.



Date: November 9, 2016

                                               ENTERED:


                                               ______________________________
                                               John Robert Blakey
                                               United States District Judge

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